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PROB 12C                                                                U. S. Probation Office         PACTS       DATE
(Rev. 08/18)   VIOLATION REPORT PART 1:                                 Eastern District of Michigan   3960833     01/18/2024
               PETITION FOR SUMMONS
NAME                                            OFFICER                        JUDGE                             DOCKET #
RAMADAN, Yousef Mohammad                        David Smith                    Terrence G. Berg                  17-CR-20595-01

ORIGINAL               SUPERVISION TYPE   CRIMINAL HISTORY    TOTAL OFFENSE     PHOTO
SENTENCE DATE                             CATEGORY            LEVEL
                       Supervised
02/28/2022                                I                   26
                       Release
COMMENCED

02/28/2022
EXPIRATION

02/27/2024

ASST. U.S. ATTORNEY                       DEFENSE ATTORNEY

Douglas Salzenstein                       Andrew Densemo
REPORT PURPOSE

TO ISSUE A SUMMONS

ORIGINAL OFFENSE

Count 1: 18 U.S.C. § 922(k), Possession of a Firearm with an
Obliterated Serial Number
Count 2: 18 U.S.C. § 922(j), Possession of a Stolen Firearm
Count 3: 26 U.S.C. § 5861(d), Possession of an Unregistered
Silencer

SENTENCE DISPOSITION

Custody of the Bureau of Prisons for a term of Time Served, to be followed by a 24-month term of supervised release.

Name of Sentencing Judicial Officer: Honorable Victoria A. Roberts. Case reassigned to the Honorable Terrence G.
Berg on 09/28/2023, pursuant to Local Criminal Rule 57.10.

ORIGINAL SPECIAL CONDITIONS

      1. You must submit your person, residence, office, vehicle(s), papers, business or place of employment, and
         any property under his control to a search. Such a search shall be conducted by a United States Probation
         Officer at a reasonable time and in a reasonable manner based upon a reasonable suspicion of contraband
         or evidence of a violation of a condition of release. Failure to submit to such a search may be grounds for
         revocation; you must warn any residents that the premises may be subject to searches.
      2. You must participate in an educational services program and follow the rules and regulations of that
         program. Such programs may include high school equivalency preparation, English as a Second
         Language classes, and other classes designed to improve your proficiency in skills such as reading,
         writing, mathematics, or computer use.
      3. You must submit to a psychological/psychiatric evaluation as directed by the probation officer.

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      4. You must participate in a mental health treatment program and follow the rules and regulations of that
         program. The probation officer in consultation with the treatment provider, will supervise your
         participation in the program (provider, location, modality, duration, intensity, etc.).
      5. You must participate in a cognitive-behavioral treatment program and follow the rules and regulations of
         that program. The probation officer will supervise your participation in the program (provider, location,
         modality, duration, intensity, etc.). Such programs may include group sessions led by a counselor or
         participation in a program administered by the probation office.
      6. Participate in a program aimed at addressing specific interpersonal or social areas, for example, domestic
         violence, anger management, marital counseling, financial counseling, cognitive skills, parenting.
      7. While on supervised release, the defendant shall be permitted to leave the judicial district for work
         purposes with prior approval from the probation officer.

               Criminal Monetary Penalty: Special Assessment $300.00 (paid).

The probation officer believes that the offender has violated the following condition(s) of Supervised Release:
VIOLATION NUMBER        NATURE OF NONCOMPLIANCE



               1        Violation of Standard Condition No. 10: “YOU MUST NOT OWN, POSSESS, OR HAVE
                        ACCESS TO A FIREARM, AMMUNITION, DESTRUCTIVE DEVICE, OR DANGEROUS
                        WEAPON (I.E. ANYTHING THAT WAS DESIGNED, OR MODIFIED FOR, THE
                        SPECIFIC PURPOSE OF CAUSING BODILY INJURY OR DEATH TO ANOTHER
                        PERSON SUCH AS NUNCHAKUS OR TASERS).”

                        On October 11, 2023, RAMADAN purchased a Crosman CAKFull or Semi Auto 4.5mm BB
                        Air Rifle from Amazon.com retailer. This weapon was seized by the probation office on
                        November 17, 2023 from RAMADAN’s bedroom.

                        On October 26, 2023, RAMADAN purchased a Umarex Glock 19X Gen 5 .177 Caliber BB
                        Gun Air Pistol from Amazon.com retailer. This weapon has not been located by the probation
                        office.
               2        Violation of Standard Condition No. 8: “YOU MUST NOT COMMUNICATE OR
                        INTERACT WITH SOMEONE YOU KNOW IS ENGAGED IN CRIMINAL ACTIVITY. IF
                        YOU KNOW SOMEONE HAS BEEN CONVICTED OF A FELONY, YOU MUST NOT
                        KNOWINGLY COMMUNICATE OR INTERACT WITH THAT PERSON WITHOUT
                        FIRST GETTING THE PERMISSION OF THE PROBATION OFFICER.”

                        RAMADAN has had regular contact with persons that he knows have been convicted of a
                        felony. RAMADAN did not have permission of the probation officer for any of the contacts,
                        but he did note subsequent contact with four people with felony records: a co-member at his
                        local mosque and another a co-worker at his employer. He only provided a first name and the

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                      probation officer knows no additional information about them: Bader (Last Name Unknown);
                      Danielle (LNU); Ibrahim (LNU); Ray (LNU).
                      However, he has also had contact with federal Inmate Afzal Beemath, BOP #56989-039.
                      Beemath was convicted in this Court, Docket 18CR20713-01, of Conspiracy to Possess with
                      Intent to Distribute and to Distribute Controlled Substances and nineteen counts of Unlawful
                      Distribution of Controlled Substances, Aiding and Abetting. Beemath was sentenced 120
                      months custody on June 22, 2021.

                      On April 16, 2022, RAMADAN had telephone contact with Beemath using the name Yusuf
                      Ramadan.

                      On April 21, 2022, RAMADAN had telephone contact with Beemath using the name Yusuf
                      Ramadan.

                      On February 2, 2023, RAMADAN had telephone contact with Beemath using the alias name
                      Martina Montanez.

                      On February 3, 2023, RAMADAN had telephone contact with Beemath using the alias name
                      Martina Montanez.

                      On August 29, 2023, RAMADAN had telephone contact with Beemath. RAMADAN offered to
                      send money to Beemath but stated that he is unable to use the prison money transmittal system.
                      RAMADAN stated that he will send money to Beemath’s family via CashApp, and they can
                      forward it to Beemath.

               3      Violation of Special Condition No. 1: “YOU MUST SUBMIT YOUR PERSON,
                      RESIDENCE, OFFICE, VEHICLE(S), PAPERS, BUSINESS OR PLACE OF
                      EMPLOYMENT, AND ANY PROPERTY UNDER HIS CONTROL TO A SEARCH. SUCH
                      A SEARCH SHALL BE CONDUCTED BY A UNITED STATES PROBATION OFFICER
                      AT A REASONABLE TIME AND IN A REASONABLE MANNER BASED UPON A
                      REASONABLE SUSPICION OF CONTRABAND OR EVIDENCE OF A VIOLATION OF A
                      CONDITION OF RELEASE. FAILURE TO SUBMIT TO SUCH A SEARCH MAY BE
                      GROUNDS FOR REVOCATION; YOU MUST WARN ANY RESIDENTS THAT THE
                      PREMISES MAY BE SUBJECT TO SEARCHES.”

                      On November 17, 2023, the probation officer conducted a home visit with intent to search the
                      premises and property under RAMADAN’s control. RAMADAN submitted to a search of his
                      person, residence, and vehicle, but refused to submit to a search of his numerous cellular
                      phones and computer systems. He was directed by the probation officer to provide his
                      usernames and passwords, or the Court would be notified of his failure to submit to a search.
                      RAMADAN refused to provide the requested information.

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                  PETITION FOR SUMMONS
NAME                                                         OFFICER                           JUDGE                             DOCKET #
RAMADAN, Yousef Mohammad                                     David Smith                       Terrence G. Berg                  17-CR-20595-01

I declare under penalty of perjury that the foregoing is true and correct.          DISTRIBUTION
PROBATION OFFICER
                                                                                    Court
s/David Smith/djl
313 234-5448
SUPERVISING PROBATION OFFICER                                                       PROBATION ROUTING


s/Steven M. Ely                                                                     Data Entry
313 234-5583

THE COURT ORDERS:
[X]            The issuance of a summons

[ ]            Other



                                                                                       s/Terrence G. Berg
                                                                                       United States District Judge

                                                                                       1/31/2024
                                                                                       Date




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